     Case 23-12922-SLM           Doc 39     Filed 02/15/24 Entered 02/15/24 15:37:49                  Desc Main
                                            Document Page 1 of 1
 Marie-Ann Greenberg MAG-1284
 Marie-Ann Greenberg, Standing Trustee
 30 TWO BRIDGES ROAD
 SUITE 330
 FAIRFIELD, NJ 07004-1550
 973-227-2840
 Chapter 13 Standing Trustee

                                                            UNITED STATES BANKRUPTCY COURT
 IN RE:                                                     DISTRICT OF NEW JERSEY
   HERBERT JOHNSON, JR.,                                    Case No.: 23-12922 SLM

                                      Debtor
                                        NOTICE OF RESERVE ON CLAIM
Creditor:           TLOA OF NJ LLC
Trustee Claim #:     11
Court Claim #:       5
Claimed Amount:      $30,285.85
Date Claim Filed:     06/14/2023

Please be advised that a reserve has been placed on the above named claim for the following reason:

       Disbursement checks have been returned as undeliverable. A change of address must be filed with the Court.
       A change of address must be filed with the Court by the creditor or creditor’s attorney ONLY. The Trustee’s
       records will not be updated by the filing of any other party.


Unless we receive the information needed and the necessary documents are filed with the Court, we will continue to
reserve the funds and the funds will be sent to the United States Bankruptcy Court upon the closing of the case .



                                                          By: /S/ Marie-Ann Greenberg
Dated: February 15, 2024                                      Chapter 13 Standing Trustee


HERBERT JOHNSON, JR.
220 WEST END AVENUE, 2ND FL
NEWARK, NJ 07106

FITZGERALD & ASSOCIATES PC
649 NEWARK AVE
JERSEY CITY, NJ 07306

TLOA OF NJ LLC
PO BOX 54077
DALLAS, TX 70154

TLOA OF NJ LLC
PELLEGRINO & FELDSTEIN LLC
290 ROUTE 46 WEST
DENVILLE, NJ 07834
